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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
________________________________________________
SARA COOMBS-MORENO, REMO DELLO IOIO,
ELIZBETH LOIACONO, SUZANNE DEEGAN,
MARITZA ROMERO, JULIA. HARDING, CHRISTINE
O’REILLY, AYSE P. USTARES, JESUS COOMBS,
ANGELA VELEZ, SANCHA BROWNE, ZENA
WOUADJOU, CHARISSE RIDULFO, TRACY-ANN
FRANCIS MARTIN, KAREEM CAMPBELL,
MICHELLE HEMMINGS HARRINGTON, MARK
MAYNE, CARLA GRANT, OPHELA INNISS,
CASSANDRA CHANDLER, AURA MOODY, EVELYN
ZAPATA, SEAN MILAN, SONIA HERNANDEZ,
BRUCE REID, JOSEPH RULLO, AND CURTIS BOYCE,
JOSESPH SAVIANO, MONIQUE MOORE, NATALYA
HOGAN, JESSICA CSEPKU, ROSEANNE
MUSTACCHIA, YULONDA SMITH, MARIA FIGARO,
RASHEEN ODOM, FRANKIE TROTMAN, EDWARD
WEBER, MERVILYN WALLEN, PAULA SMITH,
SARAH WIESEL SUZANNE SCHROETER, DAWN
SCHOL, LYNDSAY WANSER, CHRISTIAN MURILLO,
MONIQUE MORE, NATALYA HOGAN, ROSEANNE
MUSTACCHIA, YULONDA SMITH, MARIA FIGARO,
RASHEEN ODOM, SARAH WIESEL, ALTHEA
BRISSETT, TRACEY HOWARD, MARC ROSIELLO,
AUDREY DENNIS, MARIE JOSEPH, TINA LUNCH,
PATRICIA CATOIRE, MARK WHITSETT, SALLY
MUSSAFI, COLETTE CAESAR, BERTRAM SCOTT,
DIANE PAGEN, STELLA M. PRESTON individually and
on behalf of similarly situated individuals,

                           Plaintiffs,
                  v.

 THE CITY OF NEW YORK, MAYOR ERIC L. ADAMS,
 COMISSIONER ASHWIN VASAN, MD, PHD, FORMER INDEX No.: 1:22 CV 02234-EK-LB
 MAYOR BILL deBLASIO, COMISSIONER ASHWIN
 VASAN, MD, PHD, AND FORMER COMMISSIONER NOTICE OF APPEAL
 DAVE A. CHOKSHI, M.D., MSC., DEPARTMENT OF
 HEALTH AND MENTAL HYGIENE, DEPARTMENT OF
 EDUCATION, AND DOES 1-20

                           Defendants.
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Notice is hereby given that the following parties:

SARA COOMBS-MORENO, REMO DELLO IOIO, ELIZBETH LOIACONO, SUZANNE
DEEGAN, MARITZA ROMERO, JULIA. HARDING, CHRISTINE O’REILLY, AYSE P.
USTARES, JESUS COOMBS, ANGELA VELEZ, SANCHA BROWNE, ZENA WOUADJOU,
CHARISSE RIDULFO, TRACY-ANN FRANCIS MARTIN, KAREEM CAMPBELL,
MICHELLE HEMMINGS HARRINGTON, MARK MAYNE, CARLA GRANT, OPHELA
INNISS, CASSANDRA CHANDLER, AURA MOODY, EVELYN ZAPATA, SEAN MILAN,
SONIA HERNANDEZ, BRUCE REID, JOSEPH RULLO, AND CURTIS BOYCE, JOSESPH
SAVIANO, MONIQUE MOORE, NATALYA HOGAN, JESSICA CSEPKU, ROSEANNE
MUSTACCHIA, YULONDA SMITH, MARIA FIGARO, RASHEEN ODOM, FRANKIE
TROTMAN, EDWARD WEBER, MERVILYN WALLEN, PAULA SMITH, SARAH WIESEL
SUZANNE SCHROETER, DAWN SCHOL, LYNDSAY WANSER, CHRISTIAN MURILLO,
MONIQUE MORE, NATALYA HOGAN, ROSEANNE MUSTACCHIA, YULONDA SMITH,
MARIA FIGARO, RASHEEN ODOM, SARAH WIESEL, ALTHEA BRISSETT, TRACEY
HOWARD, MARC ROSIELLO, AUDREY DENNIS, MARIE JOSEPH, TINA LUNCH,
PATRICIA CATOIRE, MARK WHITSETT, SALLY MUSSAFI, COLETTE CAESAR,
BERTRAM SCOTT, DIANE PAGEN, STELLA M. PRESTON

in the above-named case appeal to the United States Court of Appeals for the Second Circuit from

the order entered on September 25, 2024 and Plaintiffs hereby requests the Second Circuit to

answer the following pure questions of law:

   1. Does the OSH Act under 29 U.S.C. §660 Section 11(c)(1) & (2) provide a private right to

       any employee who is wrongfully discharged by any public or private employer for

       exercising their First Amendment Free Exercise religious practice of refusing

       immunization/vaccines, medical treatment or medical testing, which religious practice is

       protected by the statutory provision of the OSH Act under 29 U.S.C. §669 Section 20(a)(5);

   2. Does Section 1983 provide a private right of action for monetary and injunctive relief for

       the enforcement of a New York City vaccine mandate municipal law that:

           a. violated the First Amendment Free Exercise Clause under both the strict scrutiny

               and rational basis tests; and

           b. violated the federal OSH Act Preemption Clause under 29 USC §667 Sec. 18(a)

               Preemption clause and the OSH Act anti-discrimination clause under 29 U.S.C.
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              §660 Section 11(c)(1) and the anti-vaccine mandate clause under 29 U.S.C. §669

              Section 20(a)(5);

   3. Should expert affidavits and plaintiffs affidavits attached to a complaint containing

      evidence to prove an essential element of a Plaintiffs claim and relied upon in a complaint

      through an incorporation by reference be considered a “written instrument” under FRCP

      Rule 10(a) and reviewed and considered as part of a complaint on a motion to dismiss; and

   4. Does Judicial Canon 3B6 of the Code of Conduct for the United States Judges require a

      district court judge to at least hold a hearing to investigate and interrogate through

      questioning of a lawyer on the record who has been charged by an opposing lawyer through

      a FRCP Rule 11 Sanction Motion and Rule 60(b)(3) of having committed fraud on the

      court for making a legal contention that was legally indefensible and groundless in law for

      which s judge is provided copies of over 200 cases as evidence indicating the likelihood of

      unprofessional conduct by the offending lawyer.

   5. Is it a breach of Judicial Canon 3A(2) for a federal district court judge to deny a litigant the

      right to a hearing with oral argument dismiss all claims of a litigant after deny all requests

      from a litigant

   6. Does the discovery of federal district judge’s disqualification and subject to discipline

      under




October 24, 2024                                     Respectfully submitted,
                                                     /s/ Jo Saint-George
                                                     _____________________________
                                                     Jo Saint-George, Esq. (Pro Hoc)
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                                                     Co-Counsel for Class Plaintiffs
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